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                                                    U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York


                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                    October 15, 2020


VIA ECF

Honorable Laura Taylor Swain
United States District Judge
United States District Court
  for the Southern District of New York
500 Pearl Street
New York, New York 10007
              Re:     United States v. Renwick Haddow,
                      19 Cr. 340 (LTS)

Dear Judge Swain:

       The Government respectfully writes in advance of next week’s control date. The
defendant’s cooperation continues. We therefore request that a new control date be set for three
months from now on a date convenient to the Court.

                                                               Respectfully submitted,

                                                               AUDREY STRAUSS
                                                               Acting United States Attorney

                                                    By:           /s/
                                                               Martin S. Bell
                                                               Assistant United States Attorney
                                                               (212) 637-2463

cc:    Edward J.M. Little, Esq. (via e-mail)
